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1    UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
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                                            19-CR-576(BMC)
3    UNITED STATES OF AMERICA,
                                            United States Courthouse
4              Plaintiff,                   Brooklyn, New York

5              -against-                    January 21, 2020
                                            10:00 a.m.
6    GENARO GARCIA LUNA,

7              Defendant.

8    ---------------------------------x

9          TRANSCRIPT OF CRIMINAL CAUSE FOR STATUS CONFERENCE
                  BEFORE THE HONORABLE BRIAN M. COGAN
10                    UNITED STATES DISTRICT JUDGE

11   APPEARANCES

12   For the Government:      UNITED STATES ATTORNEY'S OFFICE
                              Eastern District of New York
13                            271 Cadman Plaza East
                              Brooklyn, New York 11201
14                            BY: ERIN REID, AUSA
                                   MICHAEL ROBOTTI, AUSA
15                                 RYAN HARRIS, AUSA

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     For the Defendant:       THE LAW FIRM OF CESAR DECASTRO, ESQ.
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                              New York, New York 10007
18                            BY: CESAR DECASTRO, ESQ.
                                   VALERIE GOTLIB, ESQ.
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24   Proceedings recorded by mechanical stenography.    Transcript
     produced by computer-aided transcription.
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1               THE COURTROOM DEPUTY:     United States versus Luna.

2    Docket number 19-CR-576.

3               Counsel, please state your appearances starting with

4    the government.

5               MS. REID:    Good morning, Your Honor.     Erin Reid for

6    the government along with Michael Robotti and Ryan Harris also

7    from the government.

8               THE COURT:   All right.    Good morning.

9               MR. DECASTRO:    Good morning, Your Honor, Cesar

10   DeCastro and Valerie Gotlib for Mr. Garcia Luna.

11              THE COURT:   Good morning.    Good morning, Mr. Luna.

12              THE DEFENDANT:   Good morning, sir.

13              THE COURT:   I notice we have a Spanish interpreter

14   that's been previously sworn for Mr. Garcia Luna.

15              Initial status conference, what's the initial

16   status.

17              MS. REID:    Your Honor, as the government noted in

18   its letter of Friday, we are asking the Court to designate

19   this as a complex case.     There's two reasons for the

20   government's request, which I believe defense counsel joins

21   in.   The first is we're expecting voluminous discovery in this

22   case, Your Honor.   Obviously, the charged conduct spans two

23   decades and the records that we expect to produce include

24   financial records, electronic evidence, property records,

25   immigration records as well as evidence provided by foreign

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1    countries pursuant to MLAT.

2              In addition, Your Honor, the second reason for our

3    request is we're expecting some CIPA litigation.    Really there

4    is classified material in this case and we expect that that

5    process will take some time.

6              THE COURT:   Okay, so you're asking for a complex

7    designation for Speedy Trial purposes.

8              MS. REID:    Yes, Your Honor.

9              THE COURT:   Any objection from the defense?

10             MR. DECASTRO:   No, Your Honor.

11             THE COURT:   All right.   Based on the government's

12   proffer, I find that the case is complex and will be treated

13   as such for Speedy Trial purposes.

14             Next, looking at the agenda that you gave me, how

15   are we on the defendant completing a financial affidavit for

16   purposes of having CJA counsel?

17             MR. DECASTRO:   So -- sorry about that, Your Honor.

18             THE COURT:   It's okay.

19             MR. DECASTRO:   We do not have a financial affidavit,

20   and I'm going to tell you a little bit more on that.     So I

21   would think, based on my review thus far, that he wouldn't

22   normally qualify for CJA counsel, however, it's been pretty

23   difficult.   So since his arrest in Texas on December 10th he's

24   had very little to no contact with his family so it has to

25   have been through counsel.    He was arrested on December 10th

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1    in Texas, he was placed in the SHU in Texas with no phone

2    calls, no emails, no visitation except for counsel.     He

3    arrived here on January 3rd, about three weeks -- more than

4    three weeks later and arraigned in magistrate's court.

5               So we -- and since that point in time he was also

6    placed in the SHU at the MDC, and as the Court knows that's

7    23-hour lockdown.   And so his only visits were with me, and I

8    should point out that after waiting many hours, I was able to

9    see him and in a situation where they would shackle him and I

10   had to work very hard with legal counsel at the MDC to get

11   them to start telling the staff that you cannot cuff and

12   shackle people when they are meeting with counsel in the SHU.

13              So it's been pretty trying.   He's not had the

14   ability to reach out to his family to even talk about assets,

15   talk about the finances, get documents together to determine

16   whether there is counsel that he can hire that has comfort

17   with certain assets and is willing to come into the case.

18              I have been visiting with him pretty continuously,

19   so I've been trying to sort of work on that front as well.      He

20   has now been -- he's been out of the SHU for about nine days.

21   That time period he's -- for some reason, the average wait

22   time for us is about two hours to see him.     We see him and

23   then we're usually at a point where there is a count or some

24   reason we have to end the visit.    So we are now starting that

25   process.

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1                So what I would ask is the Court's indulgence in

2    that regard.    We are working.   So I am proceeding under the

3    assumption that I am going to be his counsel.        We are working

4    hard.    I know that -- and we are working well together.     So

5    I'd ask the Court's indulgence for a little bit of time on

6    that so that we can then apprise the Court of what's going on

7    there.

8                I guess I should also note that complicating matters

9    further is that we just learned, today is Tuesday, on Sunday

10   that -- or I should say I learned and Mr. Garcia learned that

11   on Sunday the Mexican financial authorities had blocked him

12   from the Mexico financial system.      So what that -- as it has

13   been explained to me, is that he nor his companies nor his

14   family can use the Mexican financial system which, again, is

15   another impediment for him in terms of hiring counsel and of

16   course now he has to seek counsel in Mexico to deal with that

17   issue as well.

18               So we would ask that maybe you gave us a date by

19   which we could apprise the Court in a letter --

20               THE COURT:   Just do it a week before the next

21   conference --

22               MR. DECASTRO:   Perfect.

23               THE COURT:   -- and what you're saying is fine, I

24   don't see any other way to do it at this point, so let's do

25   that.

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1              MR. DECASTRO:   Okay.

2              THE COURT:   Started discovery yet?

3              MS. REID:    Your Honor, we're in the process of

4    reviewing the discovery and we'll discuss with defense counsel

5    a schedule.   We're expecting to start providing it on a

6    rolling basis.

7              THE COURT:   Okay, and you want a date 60 days out;

8    is that right?

9              MS. REID:    Yes, thank you.

10             MR. DECASTRO:   So just on discovery, I mean one

11   thing is --

12             THE COURT:   Yes.

13             MR. DECASTRO:   -- it's been a month he's not had

14   anything to review.    So I can talk to the government about it,

15   but I don't know if we want to sort of agree on where we'll

16   be --

17             THE COURT:   Well, let me say what I'd like to happen

18   and the government can tell me if it can't happen.      I'd like

19   him to get a lot of discovery in 30 days, okay?     Just a lot.

20   I know a lot is a relative term but it seems to me you ought

21   to be able to make some initial production in 30 days so that

22   his attorney can start looking at it 30 days before the next

23   conference.

24             MS. REID:    That's reasonable, Your Honor.

25             THE COURT:   Let's do that.    I do want to urge the

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1    government to get ahead of the discovery problems that could

2    come in this case.     Okay?   Let's really be diligent in

3    producing as quickly as you reasonably can.

4               MS. REID:    Yes, we will, Your Honor.

5               THE COURT:   Okay.   Ms. Clarke, can we have -- sorry

6    anything else?

7               MR. DECASTRO:    On that front I'll talk to the

8    government about this, but it can be extremely helpful if

9    Mr. Garcia Luna is going to remain detained in this case and

10   given the special, seems like, security measures that the

11   Bureau of Prisons has put in place --

12              THE COURT:   I thought you said he was out of the

13   SHU.

14              MR. DECASTRO:    He's out of the SHU but there's some

15   type of security measures in place because I don't normally

16   wait two hours each time to see a client.     Something is going

17   on and they're telling us that.      They're apologizing.    But I'm

18   concerned that he will not then be able to even go and review

19   some of the discovery.     So I guess the government can work

20   with me and counsel at the BOP that maybe he'll have access to

21   it on a laptop or something like that.

22              THE COURT:   All right.   I'll ask the government to

23   do that.

24              MS. REID:    We'll discuss it, Your Honor, yes.

25              THE COURT:   Let's not do security by association

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1    here.   Let's look at this defendant and see what kind of

2    security is needed.

3               MS. REID:    Yes, Your Honor.

4               THE COURT:   Anything else before we pick a date?

5               MR. DECASTRO:    The only thing -- and I apologize it

6    was not on the agenda, just a quick question.       Does the

7    Court -- if we are going to make a bail application, put a

8    bail package together, does the Court want us to go to the

9    magistrate's court first or here?

10              THE COURT:   I'd like you to go to magistrate's court

11   first, I'll take an appeal if you don't get what you want, but

12   the magistrate judge will hear it in the first instance.

13              MR. DECASTRO:    Okay.   Thank you, Your Honor.

14              THE COURT:   A date.

15              THE COURTROOM DEPUTY:    April 2nd at 10 a.m.

16              THE COURT:   Okay with everybody?

17              MS. REID:    That's fine, Your Honor.

18              MR. DECASTRO:    That works.

19              MS. REID:    I would just ask to exclude the time in

20   the interest of justice.

21              THE COURT:   The time is excluded on the basis that I

22   found it to be a complex case.

23              Okay, thank you very much.      See you in April.

24              THE DEFENDANT:    Thank you, Judge.

25              THE COURT:   Sure.

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1              (Matter concluded.)

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5    I certify that the foregoing is a correct transcript from the
     record of proceedings in the above-entitled matter.
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7    s/ Georgette K. Betts               February 17, 2020

8    GEORGETTE K. BETTS                  DATE

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